EXHIBIT 16
Purchase Date          Seller                                                      Item (if known)                                                       Price
 5/22/2016         Amazon.com                                  New Fobus HK2CH Gun Holster Right Hand for H&K VP9                                    $      34.99
  8/1/2016         Amazon.com                                   Kershaw Black Bur Glassbreaker Knife with SpeedSafe                                  $      66.62
  8/2/2016         Amazon.com                         Kershaw 1605CKTST Clash Assisted 3‐inch Blade w/Polyimide Handles, Black                       $      25.33
 11/23/2016        Amazon.com                          Deejo Pocket Knife Tattoo Tree, Liner Lock, Rosewood Handle, Deejo Box                        $      48.99
 11/23/2016        Amazon.com                                           Deejo Black Rosewood 37g ‐ 1 GB005                                           $      43.99
 2/12/2017         Amazon.com                                   UTG Hi‐Profile Compact Riser Mount, 1" High, 3 Slots                                 $      10.59
 2/12/2017         Amazon.com                                         Command Arms AR15/M16 Stock Saddle                                             $      29.93
 2/12/2017         Amazon.com                     Thordsen Customs Black .223 5.56 Carbine Rifle Standard Tube Cover and Cheek Rest                  $      39.95
 2/12/2017       Thordsen Customs                                                                                                                    $    159.77
 2/15/2017         Amazon.com                               UTG 3‐Slot QD Lever Mount Adapter and Riser, Medium Profile                              $      14.13
 2/15/2017         Amazon.com                                 UTG Low‐Profile Compact Riser Mount, 0.5" High, 3 Slots                                $      10.13
 2/16/2017          Amazon.com         BlackHawk Serpa CQC Belt Loop and Paddle Carbon Fiber Holster for Glock 19/23/32/36 Right Hand Black          $     50.15
 2/17/2017        Gale Force Guns                                                                                                                    $     49.96
 2/18/2017          The Armory                                                                                                                       $    571.16
 3/1/2017          Amazon.com                                UTG 3X Magnifier with Flip‐to‐Side QD Mount, W/E Adjustable                             $     67.88
 3/1/2017          Amazon.com                                  Holosun HS403A Micro Red Dot Sight (2 MOA) with AR Riser                              $    139.93
 3/7/2017          Amazon.com                                          Ultimate Arms Gear AR15 Twang Buster Pad                                      $     11.95
 3/7/2017          Amazon.com                                                  Magpul MOE Rifle Stock, Black                                         $     75.81
 3/9/2017          Amazon.com                                     Condor Rapid Assault Chest Rig ‐ OD Green MCR6‐001                                 $     39.94
 3/9/2017          Amazon.com                                                Condor Hydro Harness Olive Drab                                         $     29.95
 3/9/2017          Amazon.com                                         Condor 3 Fold Mag Recovery Pouch Olive Drab                                    $     13.95
                                        SOUFORCE AR15 Backup Iron Sight, Flip Up Rapid Transition Front and Rear BUIS Iron Sights Set for Rifles
 3/10/2017          Amazon.com                                                                                                                       $     19.99
                                                                                      Picatinny Rails
 3/12/2017         Amazon.com                     Trijicon ACOG 4x32 Scope Dual Illuminated Horseshoe Dot .223 Ballistic Reticle, Red                $ 1,280.58
 3/13/2017      Monstrumtactical.com                                            AR‐15 Quad Rail Handguard                                            $    20.00
 3/20/2017         Amazon.com                       CNC Aluminum Picatiny/Weaver Rail Section for KEYMOD Rail (5/7/9/11/13 Slot)                     $    26.99
 5/18/2017         Amazon.com                               Technology Slavery: Collected Writings of Ted Kaczynski (Kindle)                         $    13.49
 5/26/2017         Amazon.com                                 Ohuhu Portable Stainless Steel Wood Burning Camping Stove                              $    14.99
 5/26/2017         Amazon.com                  OD Green Military Issue 2 Quart Water Canteen w/ New Issue Carrier and Sling Free Ship                $    23.00
                                       Mardingtop 50 Liter Internal Frame Backpack Tactical Backpack Military Backpack Molle Bag w/ Rain Cover
 5/26/2017          Amazon.com                                                                                                                       $     69.99
                                                                      for Hunting Shooting Camping Hiking Trekking
 5/26/2017          Amazon.com                                                   Colt Tactical Fixed Blade                                           $     22.95
 5/26/2017          Amazon.com                      Hoffman Richter Reaper Fixed Blade Tactical Knife w/ Bonus Belt Holder Sheaths                   $     39.00
 5/26/2017          Amazon.com                                            ALPS OutdoorZ Commander + Pack Bag                                         $    129.99
 5/26/2017          Amazon.com                                             UberMaxx 2 Person Backpacking Tent                                        $     52.95
                                       Boston Fortis Explorer Pro ‐ Multifunctional Portable Outdoor Water Filter Purifier 0.1 Micron for Camping,
 5/29/2017          Amazon.com                                                                                                                       $     39.99
                                                                       Hiking, Backpacking, Traveling, and Prepping
 5/29/2017          Amazon.com                                               MSR Alpine Stowaway Pot 775ml                                           $     17.95
 5/29/2017          Amazon.com            TACVASEN Men's Casual Tactical Military Lightweight Assault Combat Rip‐stop Pants S Black Python           $     26.99
 5/29/2017          Amazon.com                                Esbit 1300‐Degree Smokeless Solid 14g Fuel Tablets, 12 Pieces                          $      9.97
 5/29/2017          Amazon.com                                              Stansport Self Inflating Air Mattress                                    $     42.92
5/29/2017              Amazon.com                        Columbia River Knife and Tool (CRKT) 5235 Tighe Tac Two Tanto Folding Plain Edge Knife        $    35.63
5/29/2017              Amazon.com                                Waterproof Rip Stop OD Green Military G.I. Style Poncho Tent Shelter                  $    41.90
5/30/2017              Amazon.com                                         Esbit 1300‐Degree Smokeless Solid 14g Fuel Tablets                           $     9.97
 6/2/2017              Amazon.com                  TACVASEN Men's Casual Tactical Military Lightweight Assault Combat Rip‐stop Pants M Black Python    $    32.98
 6/2/2017               Amazon.com                          MRE A‐Menu Case, 2018 Inspection Date Military Meal‐Ready‐to‐Eat (case of 12)              $   104.49
 6/3/2017           Dick's Sporting Goods                                                                                                              $   102.16
6/14/2017               Amazon.com                                                                     MREs
6/15/2017               Amazon.com                       Howard Leight by Honeywell R 03570 Genesis Black Frame w/ Clear Lens Shooting Glasses         $     9.52
6/15/2017               Amazon.com                  Howard Leight by Honeywell Impact Sport Sound Amplification Electronic Earmuff, Green (R‐01526)    $    36.24
6/15/2017               Amazon.com                    Blade‐Tech Industries Signature Double Mag Pouch w/ Adjustable Sting Ray ‐ Glock 9/40 (Black)    $    41.21
6/18/2017               Amazon.com                                      High Speed Gear Cobra 1.75 Rigger Belt w/o D Ring Olive Drab                   $    77.00
7/11/2017             Opticsplanet.com                                                       Tactical Armatus II Vest                                  $   268.37
7/12/2017              Ur‐tactical.com                                           Tactical Plate, Triple M4 mag pouch, ELF pack                         $   337.49
7/12/2017             High Speed Gear                                  Grip paddled belt, x2R TACO, HSg Clip (6), Mag‐Net dump pouch                   $   254.73
7/15/2017           Amazon.com (Evike)                                                 LBX Armatus II 4020 Plate Carrier                               $   265.78
7/15/2017               Amazon.com                                                               3 Mag pouches
7/17/2017               Amazon.com                     HSGI Single P Taco Magazine Pouch Fits all Double and Single Stack Mags (Color Smoke Green)     $    27.00
7/17/2017    AMZ*Ares Tactical amzn.com/pmtsWA                                                        Holster                                          $    69.95
7/17/2017          Body Armor Megastore                                                         AR500 Steel Plates                                     $   129.99
7/19/2017               Amazon.com                                              High Speed Gear Pistol Taco Mag Pouch Green                            $    81.00
7/24/2017               Amazon.com                            BICOL Military Safety Two Points Outdoor Belt QD Series Sling Adjustable Strap           $    14.99
7/24/2017               Amazon.com                                       100 Pack ‐ World's #1 Water Purification Tablets ‐ Aquatabs                   $    12.99
7/24/2017               Amazon.com                                     UTG Pro Keymod Compatible Standard QD Sling Swivel Adaptor                      $    14.99
7/29/2017                 Evike.com                                      Sidekick pouch, Tactical quad mag rig, Plate carrier back bag
7/30/2017            Jmpf.company.com                                               Tube, dry storage cups, thread adapter                             $   202.55
7/31/2017                 Evike.com                               Airsoft wire smoke grenade, MOLLE pouches, Plate carrier, Bottle pouch               $   252.07
7/31/2017           Cheaperthandirt.com                           Ammunition on .223 Remington, Federal Gold medal .22LR Ammunition                    $   118.57
8/8/2017                Amazon.com                                Trijicon Tennebrex Killflash 4x32 Rco Acog Scope Anti‐Reflection Device              $    43.46
8/8/2017                                                                                Segmented vertical forend grip                                 $    31.15
8/29/2017              Amazon.com                         Morrell Super Duper Field Point Bag Archery Target for Compound Bows and Crossbows           $    64.33
                                                 TruFire Edge Buckle Foldback Adjustable Archery Compound Bow Release ‐ Camo Wrist Strap w/ Foldback
 9/4/2017              Amazon.com                                                                                                                      $    67.82
                                                                                                      Design
10/12/2017           Midwestguns.com                              Sig Sauer 1911 Extractor, Sig Sauer 1911 USACP Accessory essentials kit              $   130.17
10/13/2017           Cylinder‐slide.com                                                    1911 Light Pull Sear Spring                                 $    25.45
10/17/2017             Cmcmags.com                                        (2) Combat Power Mag, (2) 10rd RPM ‐ Railed Power Mags                       $   151.40
10/19/2017              Amazon.com                                                          Govt Bl Check Front Step                                   $    14.01
10/19/2017              Amazon.com                                                          Clipdraw #ROM‐B (Black)                                    $    22.95
10/19/2017             Amazon.com                        DURAGRIPS ‐ Compact / Officers 1911 Tactical Texture Grips ‐ Wasp Nest (Black, Magwell)       $    30.00
10/19/2017             Amazon.com                                                         1911 Shok Buff Buffers 6pck                                  $     6.88
10/19/2017                Brownells                                                1911 AUTO DELUXE COMPLETION KIT, SS                                 $    59.99
10/19/2017                Brownells                                             OMAB OFF. MODEL BLUE ARCHED MAG. GUIDE                                 $    78.99
10/19/2017                Brownells                                                 CLASSIC MAINSPRING HOUSING TOOL                                    $    13.50
10/19/2017            Brownells                                           1911 MAINSPRING HOUSING RFLL KIT,BLUED                                    $     8.99
                                            1911 Deluxe Completion kit, 1911 Mainspring Housing with Magwell, Classic Mainspring Housing Tool,
10/19/2017         Brownells.com
                                                                                   Mainspring Housing Rebuild Kit.
10/22/2017          Amazon.com                                   Augason Farms 30‐Day Emergency Food Storage Supply Pail                            $    89.98
10/22/2017          Amazon.com                                      Augason Farms 30‐Day Emergency Food Storage Supply                              $    89.98
10/23/2017           Brownells                                                           CAP, MAINSPRING                                            $     3.99
10/23/2017           Brownells                                                             PIN, RETAINER                                            $     5.99
10/23/2017         Gunsprings.com                                       Colt Offer Mod/P13 XP Hammer Spring 24LB Pak                                $     8.28
10/23/2017         Brownells.com              160‐116‐140 WB 1911 Defender 3 Mainspring Cap, 160‐116‐136 WB 1911 Defender 3 Retainer Pin            $    13.93
11/3/2017           Amazon.com                       Emergency Food Rations ‐ 3600 Calorie Bar ‐ 3 Day Supply (5 year shelf life) ‐ 9 Bars          $    13.95
11/3/2017           Amazon.com                                                  Sight Master Sight Pusher Tool T1003                                $    54.50
11/3/2017           Amazon.com                                           Trijicon .248 RMR 1911 Novak Cut Pistol Mount                              $    96.45
11/13/2017          Amazon.com                                            UM TACTICAL Delrin Shim 1.0 Degree for RMR                                $    19.98
11/13/2017           Brownells                                                       F242243 12GA 18" BARREL                                        $   109.99
11/13/2017           Brownells                                             RE‐7000‐1 MAGAZINE TUBE DETENT SWAGE                                     $    35.99
11/23/2017          Amazon.com                                    Tacstar 4‐Shot Remington 870, 1100 and 11‐87 (12 Gauge)                           $    30.59
                                             Bundel: olight pl mini valkyrie rechargeable handgun weaponlight cree led 400 lumen pistol light w/
11/23/2017          Amazon.com                                                                                                                      $    79.95
                                                                         magnetic usb charger and olight patch (pl‐mini)
11/24/2017            Brownells                                                S/S FOLLOWER FOR 12 GA. SHOTGUNS                                     $    18.99
11/24/2017            Brownells                                                     B3578296 SLING EYELET REAR                                      $     5.44
11/24/2017            Brownells                                                  2670‐3 1 1/4" UTILITY BLACK SLING                                  $     9.99
11/24/2017            Brownells                                           1.25" BLUED LOK‐DOWN SLING SWIVEL,ONLY                                    $     9.99
 12/4/2017   INT*IN *TACTICAL, LOYA ‐ WA                                                                                                            $    67.40
 12/4/2017            Brownells                                          F620961 308 BOLT ASSEMBLY (GEN 1)                                          $    99.99
 12/4/2017            Brownells                                              ACS‐L STOCK COMMERCIAL BLK                                             $    75.95
 12/5/2017            Brownells                                                F1007270 .308 FIRING PIN                                             $    11.99
 12/5/2017            Brownells                                         F1007271 308 FIRING PIN RETAINING PIN                                       $     7.99
 12/5/2017            Brownells                                         AR‐15 VELOCITY TRIGGER 4.5LB CURVED                                         $   149.99
 12/5/2017            Brownells                                                  AR‐15 RAIL COVER (x2)                                              $    22.70
 12/8/2017           AIM Surplus                         South Korean Mfd 7.62X51 (.308) M80 146GRN FMJ 460rd CAN A308PS460                         $   200.31
12/10/2017             Cabela's                                                                                                                     $   148.00
12/11/2017            Brownells                                           CHARGING HANDLE 762 MOD 3 (LARGE)                                         $    57.99
12/11/2017            Brownells                                              MINI BORE SIGHTER: 22‐50 CALIBER                                       $    49.99
                                           Heavy Duty 45 Degree Flip Up Offset Front & Rear Sights Rapid Transition Combo Set Sight by Green Blob
12/15/2017          Amazon.com                                                                                                                      $    24.99
                                                                                          Outdoors
12/20/2017          Amazon.com                                 Vortex Optics Tactical 30mm Riflescope Ring, High (TRH) 2‐pack                       $    38.00
                                           Athlon Optics Argos BTR Riflescope 8‐34 x 56 First Focal Plane (FFP) 30 mm Tube, Illuminated APMR MIL
12/20/2017          Amazon.com                                                                                                                      $   389.00
                                                                                            Reticle
12/20/2017          Amazon.com                       Discovery Optical Anti Cant Riflescope Bubble Level for Tube Hunting 30mm / 3" L               $    16.86
12/23/2017          Amazon.com                                 Vortex Optics Tactical 30mm Riflescope Ring, High (TRH) 2‐pack                       $    41.99
                                           Athlon Optics Argos BTR Riflescope 6‐24 x 50 First Focal Plane (FFP) 30 mm Tube, Illuminated APMR MIL
12/23/2017          Amazon.com                                                                                                                      $   399.61
                                                                                            Reticle
 1/7/2018           Amazon.com                            Vortex Optics Tactical 30mm Riflescope Ring, Medium Profile TRM 2‐pack                    $    38.00
1/7/2018      Amazon.com          SNIPER Weaver Style 45‐degree Offset Rail Mount 4 Picatinny Slots Hard Anodized Black Matte Finish     $    10.99
1/22/2018     Amazon.com                         Tipton Deluxe 1‐Piece Carbon Fiber Cleaning Rod 22‐26 Cal. 36" Retail Pack              $    44.33
1/22/2018     Amazon.com                                                  Tipton Universal Bore Guide                                    $    14.39
1/22/2018     Amazon.com                                    Tipton Best Gun Bore Brush (Pack of 3) 30/32 Calibre                         $     5.99
1/22/2018     Amazon.com                                              Tipton Ultra Gun Jag 25/6.5‐Calibre                                $     3.49
1/22/2018     Amazon.com                               Southern Bloomer Cotton Cleaning Patches 30cal 2"x2" 175 bag                      $    10.49
1/22/2018     Amazon.com                                            Bore Tech CU+2 Copper Remover, 16 oz                                 $    57.73
1/22/2018     Amazon.com                                                         Mildot Master                                           $    36.94
1/22/2018     Amazon.com                                                      Sweets 7.62 Solvent                                        $    20.12
2/15/2018   Ammunition Depot                            Perfecta .308 Win 147 Gr FMJ (Made by Fiocchi) (x3 @ 11.99)                      $    35.97
2/15/2018   Ammunition Depot                         Federal Gold Medal Match .308 Win 168 Grain BTHP (x2 @ $20.87)                      $    41.74
2/15/2018   Ammunition Depot                         Federal Gold Medal Match .308 Win 175 Grain BTHP (x2 @ $21.97)                      $    43.94
 3/7/2018     Amazon.com                            Silky Folding Landscaping Hand Saw BIGBOY 360 Large Teeth 354‐36                     $    72.02
 3/7/2018     Amazon.com                                                  Tops Knives Wild Pig Hunter                                    $   165.96
 3/9/2018     Amazon.com                      Combination Knife/Tool Sharpening Stone (2‐sided, ultra fine and medium grit)              $     7.99
 3/9/2018     Amazon.com                               Tops Knives B.O.B. Brothers of Bushcraft Knife w/ Black Handle                    $   135.00
3/27/2018     Amazon.com                       Augason Farms Long Grain White Rice Emergency Food Storage 28 Pound Pail                  $    55.61
3/27/2018     Amazon.com                             Augason Farms Pinto Beans Emergency Food Storage 41 Pound Pail                      $    89.98
                                Lancer Tactical Modern Slim to 2‐Day Trek Back Pack w/ Padded Back Mesh Weave Vent and Chest Rig Four
3/27/2018     Amazon.com                                                                                                                 $    74.95
                                                               Line MOLLE Panel Exterior Pockets Hydration Bl
                                    Hoanan Double Mag Pouch, Tactical Molle Magazine Pouch Open‐Top Single Rifle Pistol Mag Pouch
3/27/2018     Amazon.com                                                                                                                 $    10.99
                                                         Cartridge Clip Pouch Hunting Bag (Upgraded Version Olive)
3/27/2018     Amazon.com                            EMERSONGEAR Tactical Single Open TACO Mag Pouch EM6345 (OD)                          $    14.99
                                 EMERSONGEAR Double Decker Mag Pouch Multicamo Airsoft AK47 M4 M16 Mobile Tactical Pouch Clip for
3/27/2018     Amazon.com                                                                                                                 $    17.99
                                                                             Vest Belt EM6346 (OD)
                                Morakniv Kansbol Fixed Blade Knife w/ Sandvik Stainless Steel Blade and MOLLE Multi Mount System, 4.3‐
3/30/2018     Amazon.com                                                                                                                 $    46.64
                                                                                       inch
4/2/2018      Amazon.com                                          Silky 504‐36 Sheath for Bigboy Folding Saw                             $    24.88
4/2/2018      Amazon.com                           Condor Vanquish Armor System Accessories Modular Panel, Olive Drab                    $    16.48
4/2/2018      Amazon.com                     EMERSONGEAR Tactical MOLLE Double Modular Rifle M4 Magazine Mag Pouch FG                    $    15.99
                                 EMERSONGEAR Double Decker Mag Pouch Multicamo Airsoft AK47 M4 M16 Mobile Tactical Pouch Clip for
4/2/2018      Amazon.com                                                                                                                 $    17.99
                                                                             Vest Belt EM6346 (OD)
                                  Streamlight 14514 Sidewinder Compact II Military Model Angle Head Flashlight, Head Strap and Helmet
4/3/2018      Amazon.com                                                                                                                 $    78.71
                                                                               Mount Kit, Coyote
4/7/2018     Daytona Tactical                                                                                                            $   319.90
4/8/2018      Adams Arms                                                     Bolt spring                                                 $     5.00
4/8/2018      Adams Arms                                          One‐Piece Bolt Carrier Group ‐ NiB                                     $   169.81
4/8/2018      Adams Arms                                               AR‐15 Field Repair Kit                                            $    29.99
4/8/2018      Adams Arms                                                                                                                 $   242.82
                                ANSMANN Powerline 8 AAA & AA Smart Battery Charger for AA, AAA Rechargeable Batteries w/ Discharge
4/11/2018     Amazon.com                                                                                                           $          44.99
                                                                    Function and USB‐Port
                            Platypus GravityWorks 4.0 Liter High‐Capacity Water Filter System for Group Camping and Emergency
4/11/2018   Amazon.com                                                                                                              $   157.89
                                                                       Preparedness
                         Luxe Tempo Lightweight 4 Person Tent Freestanding for Backpacking Family Camping 7.7 lbs. w/ Ridge Pole
4/11/2018   Amazon.com                                                                                                              $   129.00
                                                         Gear Loft Rip‐Stop Fabric Aluminum Poles
4/11/2018   Amazon.com                                     Platypus GravityWorks Filter Cartridge                                   $    43.68
                           Streamlight 14514 Sidewinder Compact II Military Model Angle Head Flashlight, Head Strap and Helmet
4/11/2018   Amazon.com                                                                                                              $    78.71
                                                                     Mount Kit, Coyote
                           FMS 3/8 Inch Contoured Buckle ‐ Side Release Buckle Curved for Paracord Bracelets, Backpacks, Tactical
4/11/2018   Amazon.com                                                                                                              $      8.66
                                                        Bags and Gear, Webbing and More (10 Pack)
4/12/2018   Amazon.com                      EMERSONGEAR Tactical Single Open TACO Mag Pouch EM6345 (OD)                             $    15.99
                          SINAIRSOFT Double Decker Mag Pouch Multicamo Airsoft AK47 M4 M16 Molle Tactical Pouch Clip for Vest
4/12/2018   Amazon.com                                                                                                              $    18.99
                                                                      Belt EM6346 MC
7/22/2018   Amazon.com                           Wingeler Medium Arrow Rest Right and Left Hand ‐ Black                             $    13.98
7/22/2018   Amazon.com               Mandarin Duck Nighthawk 50# Triangle Compound Bow ‐ Right & Left Hand Hunting                  $   183.34
7/22/2018   Amazon.com                                       Trophy Ridge Mist 3 Pin Bow Sight                                      $    27.54
8/7/2018    Amazon.com                                Firstgear Torrent Waterproof Duffel Bag (Black)                               $    59.95
8/7/2018    Amazon.com                            Firstgear Torrent Waterproof Duffel Bag ‐ 40 Liter Black                          $    79.95
                             NICELY HOME Dry Bag ‐ Rafting Boating Backpack ‐ Kayak Waterproof Bag ‐ Compression Daypack ‐
8/7/2018    Amazon.com                                                                                                              $    25.90
                                                          Changeable Capacity 12‐15 L Black Color
8/15/2018   Amazon.com                                    ALPS Mountaineering Lynx 1‐Person Tent                                    $    76.31

  Total                                                                                                                             $ 12,120.90
